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               MONTANA NINETEENTR                   JUDICIAL    DISTRICT      COURT
                                        LINCOLN COUNTY



JACKD KENWORTHY and
PATRICIA HELEN KEN WORTHY
liusand and wife



       Plaintiffs



                                                                     No DV-99-185

W.R GRACE       CO.-CONN  Connecticut

corporation W.R Grace  CO Delaware
corporation W.R GRACE   CO a/k/a GRACE
 association   of business   entities   BBNTTA
LOVICK Personal Representative           for the


ESTATE OF EARL               LOWCK DECEASED
and DOES I-I



       Defendants




                    VIDEO DEPOSITION               OF JACK      KEN WORTHY




                                   Heard   at   3000 Villard 135-A

                                           Hlena    Montana

                                        December      17 1999
                                                100 p.m




                                                                        -p




PREPARED       BY                                  THERESA   STRAUCH RMR
                                                 HENDRICKSON cOURT REP ORTNG
                                                     39 Neil   Avenue   Livery   Square

                                                       Helena    Montana     59601

Copy                                                       406 443-0080
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                                     VIDEO DEPOSITION                        OF JACK             KENWORTHY                     DECEMBER                17 1999


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                                                                                                          EXAMINATION                                                                Page
      JACK           WORTHY        and PATRICIA                                                                     By   Mr      9IcGarvey                                           4-47
      HELEN    KENWORTHY          husband and wife
                                                                                                                   By    Mr MacDonald                                            29-50
                          Plaintiffs

              Va                                                                  DV-99-185

      W.R   GRACE      C0.-CONN
      Connecticut     corporation    W.R
      GRACE     CO.      Delaware
      corporation    W.R    GRACE                 CO
10    a/k/s  GRACE     an associ8tior     of
      business    entities    BENITA                                                               10
11    LOVICK Personal       Representative
      for the ESTATE     OF EARL        LOVICK                                                     11     EXHIBITS                                                                   Marked
12    DECEASED     and DOES I-IV
                                                                                                   12                                    NO   EXHIBITS
13                        Defendants
                                                                                                   13


                                                                                                   3-4

15                 VIDEO    DEPOSITION           OF    JACK       13    KENWORTEY
                                                                                                   15
16
                                                                                                   16
17            BE    IT    REMEMBERED         that          the    video      deposition
                                                                                                   17
1.8   upon    oral       examination        of    JACK             KENWORTEY
                                                                                                   18
19    appearing             the   instance            of    Plaintiff             was   heard
                                                                                                   19
20    at    3000    Villard 135-A                Helena           Montana          on   the
                                                                                                   20                          WORD      INDEX    AT    END      OF   TRANSCRIPT
21    17th    of    December         1999        beginning             at   the hour      oE
                                                                                                   21
22    100 p.m             pursuant           the Montana                Rules      of   Civil
                                                                                                   22
23    Procedure          before   Theresa                  Struch           Nbtay       Public
                                                                                                   23
24
                                                                                                   24
25
                                                                                                   25



      P2GE                                                                                               PAGE

                                  APPEARANCES                                                                  WHEREUPON                      the following           proceedings           were had

                                                                                                         and      testimony           taken      to-wit
                     ATTORNEY   APPEARING                  ON    BEHALF      OF
                     TEE  PLAINTIFF                                                                                      VIDEOGRAPHER                      Were          now    going       on    the


                            ALLAN      McGARVEY                                                          record          Its    December           17 1999            approximately              101
                            Attorney   at Law
                            McGarvey     Heberling                     Sullivan                          p.m
                                    Mcgarvoy
                            745 South Main
                            Kaliapell     Montana                  59901



                                                                                                                                Witness          sworn

                     ATTORNEY  APPEARING                   ON    BEHALF      OF
10                   THE DEFENDANTS                                                                10                           JACK             KEN WORTHY
11                          TERRY      MaCDONALD                                                   11    called     as         witness        herein                     been    first     duty
                                                                                                                                                          having
                            Attorney   at  Law
12                          Carlington     Lohn                   Robinson                         12                was examined                and     testified       as    follows
                                                                                                         sworn
                            P.O Box 7909
13                          Miasoula    Montana                   598077909                        13

14                                                                                                 14                            EXAMINATION
15
                                                                                                   15    BY    MR McGARVEY
16
                                                                                                   16                Please           state    your    name
17
                                                                                                   17               Jack              Kenworthy
18
                                                                                                   18               Jack         are we        taking     this   deposition           at

19
                                                                                                   19    your     daughters home                  in   Helena
20
                                                                                                   20               Yes we are
21
                                                                                                   21               And        have       you    moved      to    Helena        to   be near
22
                                                                                                   22    your family since                you    got    sick
23
                                                                                                   23               Yes         have
24
                                                                                                   24               Jack        tell     us   what youre          sick    with
25
                                                                                                   25                was        diagnosed          with    lung       cancer


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                                                    VIDEO DEPOSiTION                                OP JACK              KENWORTHY DECEMBJR                                                   171999

       PAGE                                                                                                                      PAGE
                        And     are you                                                                                                       Cancer
                                                    suffering           any        ill    effects        of                                                        In    the        stomach                 and     the       .-
                                                                                                                                                                                                                                    go    on
       that    today                                                                                                                           Okay                Jack             do                   have           hard        time
                                                                                                                                                                                          you
                   Yes                                                                                                           recalling          words
                        Okay           Can you            tell     me        about         that         how                                   Yes
       youre feeling                                                                                                                           Okay                And         is    that          since        you      got the
                   Well Ive               lost       about         40    pounds or more                                          cancer
       and     just      weak          and        cant do anything                                                                                                      nods                               Yes
                                                                                                                                              Witness                                head
                        110w do         you           as     far       as     remembering                                                      Do you               find                                            confused
                                                                                                                                                                                yourself                 being

       things           do you         have         any     difficulty            with                                                       Yes very easily
 10    remembering                                                                                                         10                 And         just          the other                  day we went through
 11                Yes                                                                                                     ii                                                       Can                                            how
                                                                                                                                 deposition              process                                   you describe                           that       was
 12                 Okay                                                                                                   12    for           as       far              how         well
                                                                                                                                       you                         as                               you      recalled          things           or

                   My      memorys not very good                                                                           13    were able              to    do        that        without               tiring    out
 14                 And are you taking any treatment                                               for    the              14                What             was that again
 15   cancer                                                                                                               15                 When             we        did        your deposition                          the other          day
 16                Yes Im taking chemotherapy                                               and     Im                     16    was    that       hard
 17   taking       radiation                                                                                               17                Yes
18                  And the chemotherapy                                     does that             tire                    18                                      Then                       also         have         Prednisone                   You
                                                                                                           you                                Okay                               you
 19   out                                                                                                                  19   take     that      for        the       glands
20                 It   seems          to yes                                                                             20                 Yeah
21                  And then              in    addition           to    that            are you                          21                  And then                     think          its        Megace              Me-g-a-c-e
22    taking       medications                                                                                            22    for
                                                                                                                                       your appetite
23                 Yes           am                                                                                       23                 Yeah
24                 And         did        have                          down         with                                                     You have
                                                                                               your wife                  24
                                                                 sit
                                                      you                                                                                                                difficulty                with your            appetite
25    and      make             list    of     those        for        me                                                 25                 Yeah

      PAGE                                                                                                                      PAGE
                   Yesldid                                                                                                                    And you take                          these           every          day
                                 want        to      run through              those            The                                            take
                        just                                                                                                                                  this      one yes appetite                                medicine

      first    one       that    youve              got here            is
                                                                              Duragesic                 patch                   every     day           yes
      for     pain                                                                                                                           Okay               Now             between                   the   effects            of    the
                   Yes                                                                                                          cancer        and the chemotherapy                                          and     these           different

                    Are       you wearing                 that         now                                                      medications                   is    that         affecting                how      youre able                  to

                   Yes          am                                                                                              understand                and           communicate                         here        today
                    And then              Percoset               have         you         taken         that                                 Yes
      within       the    last       24 hours                                                                                                And        Ill
                                                                                                                                                                try      to      keep              this    short        Jack            and
10                 No          havent               Thats         for        pain                                         10      apologize                   have         to       ask       questions                 and    try       not    to

11                 Okay              Did you          have         any       of     that     yesterday                    11    ask    them        in                               form              So     its    not that              Im
                                                                                                                                                               leading
12    or    last                                                                                                          12
                   night                                                                                                        picking       on    you              Its       just       the        way           have       to    try    to

13                 Yesterday                                                                                              13    ask    these        questions
14                 Then         youve               got   Remeron Thats                            to    help             14              When            did       you         first
                                                                                                                                                                                              go     to     work        at    Grace
15    you sleep                                                                                                           15                 1968
16                 Yes                                                                                                    16                 When                        first      went            to     work there what
                                                                                                                                                              you
17                 And        did      you have            some          of       that      last    night                 17    did    the                                                                              about
                                                                                                                                             company                    tell
                                                                                                                                                                                 you          if
                                                                                                                                                                                                    anything
18                 Yesldld                                                                                                18    workplace           hazards
19                 And then you havePhilosec                                         for                                  19              Not                      much
                                                                                             your                                                   very                             nothing
20    stomach                                                                                                             20                 Anything               that                      can         recall
                                                                                                                                                                                 you
21                 Yes                                                                                                    21              No hazards
22                 And are you having                            stomach                                                 22                  Was                                                   Grace where
                                                                                         difficulties                                                    it
                                                                                                                                                               dusty up                  at                                   you worked
23                      lot of       things          disagree                                                            23     there

24                 Okay             And        is    the cancer              in
                                                                                   your       stomach                    24               Just          the             yeah                  dust but             it   wasnt
25    as    well                                                                                                         25     hazardous                It    was         just               nuisance             dust        more or


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     less                                                                                                                                   of     the jobs            that
                                                                                                                                                                                you                did        at    Grace

                       Okay                  Were         you        told        it   was               nuisance                                            Yes
     dust                                                                                                                                                   And              had         that            typed           up and does
                  Yes                                                                                                                       Plaintiffs            Exhibit                520-JK                    does that accurately

                       Describe                    the      dust            What            did you           see      in                   list     the jobs           that         you                held       to    the best               of    your

     the    air                                                                                                                             recollection                when                  you         worked              at      Grace

                  Well                  see              light      sometimes                           film    of                                          Yes it does

     gray    dust          coming                       down                                                                                                And          want                 to        kind       of    work             through          that


                       Was         it        always            the    same                                                                  little    bit       At the beginning                                   there             in     1968         it




10                Pretty                much             all   the         same                                                        10                        worked                  in    the construction                                 department
                                                                                                                                            says      you

11                     Okay                  Were         there            places            that       were         dustier           11   Can       you       tell     us what                        kind       of    jobs             you     did    when           you

12   than    others                                                                                                                    12   were there

13                Oh yeah                          lots     of places                                                                  13                   Well you went around                                             and          built      different


14                   Were               there times                   that        were dustier than                                    14   things made different things                                                     for      the mining

15   other      times                                                                                                                  15   operation              worked                     in the              dry        mill              worked         at    the

16                Yes                                                                                                                  16   lower         ore     bins here and there

17                   Jack               Im showing                     you
                                                                                      Exhibit 222                   Common             17                   Describe                what                it    was        like        inside          the dry

18Exhibit 222                           Do you recognize                               that        being         up    at    the       18   mili
19   mill   and         how             it    looked           at     the time               that        you worked                    19                 At times             It        could               be     pretty            dusty           dirty

20   there                                                                                                                             20                   And what                 kinds                   of    things            were going               on

21                Yes                                                                                                                  21   when       it   was         real         dusty                   there

22                   And       is        that           the    mill that              we      see        in   the                      22                 Well the              mill               was            running             of       course and

23   lower        right        of        that         photo                                                                            23   stirring           up dust and guys blowing                                                    down          sweeping

24                It
                        appears                    to    be yes                                                                        24                   When             you say                    blowing               down              what were they

25                   And           in        that        photograph                    we         can      see       some              25   blowing            down

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     haze       in     the area                     of   the mill                Was          that         common when                                    Walls         and          pipes                   and        things            along         the walls


     you worked up there                                                                                                                    and so forth

                  No          it    was not                                                                                                                 What         were they blowing                                      it        down       with

                     Okay                    How         often        would            it    be     hazy        and                                       Air


     dusty        around                the         mill like         that                                                                                  What         were they blowing                                      off

                  Well                  dont know                          It   would          vary from                                                  Dust

     day to day                    but        it    could        be         like      that        for         day or                                        How much dust

     two                                       and then               It        would         clear        up         The                                 Well          it
                                                                                                                                                                             depends                         on when                 it   was        cleaned
                  suppose
     wind would                    come through                             and take               It   on     out                          last but           sometimes                           It   could            be quite                    bIt

10                   Jack            you said                  that        you        were         told       that    the              10   sometimes                  not too                 much
11   dust    was               nuisance                     dust                What         did        you    understand              11                   And        then         it        would               get blown                 down        onto       the

12   that    to      mean                                                                                                              12   floor

13                That         it       wasnt               harmful                                                                    13                 Floor

14                   When               you         first      went to work                       at    the                            14                   And then                what                would            they         do       with     that

15                         Jack                did       they                               that        there       was                15                 Id sweep                  it
                                                                                                                                                                                          up
     company                                                         tell
                                                                                 you

16   tremolite           in        the        dust                                                                                     16                   Okay             Jack              Im showing                          you         Plaintiffs


17                No                                                                                                                   17   Exhibit         288          Do         you             recognize                  where thats                    at
18                   Did      they             tell      you        that        there         was asbestos                             18                   believe            its            at        the lower ore                      bins

19   in   the     dust                                                                                                                 19                 Okay               Down              by the river

20                No                                                                                                                   20                 Yes
21                   Did you                  know             Jack             from        any source                that             21                   Can        you     tell
                                                                                                                                                                                               us by way                      of      comparison                   if




22   there      was        tremoilte                     or    asbestos                  when           you      went        to        22   we     look        here      at     the bottom                              of   these             beams we see
23   work               there                                                                                                          23   kind     of     piles        and             we         can           see kind                of         track
                up

24                No                                                                                                                   24   through            the dust there                                 How            would          that        compare           to


                                                                                                                     me                25   conditions                   the dry miB                              when
                                                     ask       you to make                                                                                                                                                                  were blowing
                                    did                                                                       for                                                  in
25                   Jack                                                                           list                                                                                                                      they


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       it    down        and         sweeping                                                                                                                  What          else        did               do     down
                                                                                                                                                                                                you                            there        at    the

                    This        wouldbe                           lot       worse                                                             lower storage                      bins     down         by the river

                    Okay                  So     it    wasnt                that     bad         as   far       as the                                          dont             remember
       amount            of    stuff       they         were sweeping                             up                                                           How does the ore get out of those                                                bins       to

                    No                                                                                                                        be    conveyed                  across           the river

                    Were             you        ever          in       this       part      of    the lower                                                How         did the ore get out                          of    the         bins
       bins    where                                  dust                          we      see       here           on
                                all       this                        is    that                                                                               Yes you talked                        about          gravity              system
       288                                                                                                                                    Where            does         it
                                                                                                                                                                                  pour      down           to
                    Yes              was down                      there           once                                                                    Well there must have                                   been                       of   some
                                                                                                                                                                                                                                    gate
 10                  Now             when             you        were down                   at   the lower ore                         10    sort         dont remember                          exactly               that        you opened
 11    bins     where               did    you         usually                work                                                      11    and.
 12                 Down             in    the loading                      facility         part      of       it                      12                     The gate opened                         and        then         it   went         down
 13                 And              want         to    show                you      Exhibit          1.34             Is               13                Yeah
 14   thai     the lower ore bins                                that        youre          talking             about                   14                     Down          to       where
1.5                 Yes                                                                                                                 15                To the conveyor                             whichever                conveyor                you
16                                    And             what did                                                                                                                           on
                    Okay                                                      you do when                       you were                16   were shipping                       out              Those          tanks they may
                                                                                                                                                                                                                  five

17    down      there                                                                                                                   17   be    different                             ore          Like they had one two
                                                                                                                                                                       grade
18                  Loaded                                       thecars                                                                                              and                                  ore you know
                                          ore into                                    for shipping                                      18   three        four                    five     grade

19                  Describe                how thats                        done                                                       19                     So you could                                     different                       for
                                                                                                                                                                                               open                                  gate
20           A. Well the ore comes                                          out from              under the                            20    each        of     those            tanks
21    bini onto               that        conveyor                    going         across            the        river         and     21                 Right
22    dumps         into        The ore               cars                                                                             22                      And then               underneath                 that     then           was there
23                  And how                 would                it   be     transferred                   onto        the             23    tunnel
24    conveyor                                                                                                                         24                 Yeah                   tunnel        and          conveyor
25              Just                                                  more or less                                                                                               And                                                 down there
                                     gravity           fall                                                                            25                      Okay                      did     you ever               work


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                 Oh                  see         Okay                      Well what operations                                                           Yeah down                      here

      did     you do                                                                                                                                       And         describe                thai        What         was         it   like     down
                Sometimes                        we run that                       little    Cat       end                                   in    the   tunnel

      loader        and         it
                                      might            take           it.                                                                                       would be pretty dusty                              down
                                                                                                                                                          It                                                                        there         if


                                                      front-end                    load                                                      one of these                                                       plug up one of the
                    Is    that        like                                                                                                                              chutes                       here
                                                                                                                                                                                            up
                    Yeah            Cat     end         loader                                                                               chutes            under        the tank                                then
                                                                                                                                                                                                 plug       up                      you get           In

                    And what                would                 you        do     with     that                                            there and           prod            It   out of there               until     Its           clear

                               up the ore and
                    Pick                                                    maybe           move           it   out       of                               Prod        it     with       what
      this    bin    into           this       bin     for            shipping              because maybe                                                Steel rods or                    anything
10    this    bin    was empty                        or they               wanted           to    blend             these             10                  Can you describe                            the dust conditions                            when
11    two     together                Sometimes they did that                                                                          11           were                                                   like    that
                                                                                                                                             you                 doing            something
12                  And would                                                 the ore from                      one                    12                                                              bad
                                                 you        dump                                                          pile                           Its     pretty               bad      real

13    to     another                                                                                                                   13                                    Jack              want              move
                                                                                                                                                          Okay                                             to                  to    the next

14              Right                                                                                                                  14          alter                              the construction
                                                                                                                                             job                you     left
                                                                                                                                                                                                                          department
                    What was the condition
                                                                                                                                                                                 go next
15                                                                                  of   the ore at               that                 15    Where        did     you
16    time          Was              wet               dry                                                                             16
                               it              or                                                                                                        Welding                 shop
17              Oh no                 it   was         always                dry         This         is     known                     17                 Where              did
                                                                                                                                                                                       you      go     in    1970        before            the

18    as      dry    facility              down          here                                                                          18    welding           shop
19                  Okay              And when                        you     dumped              that           did        that       19                Oh the garage
20    create any              dust                                                                                                     20                 Okay               And         what                       do               the
                                                                                                                                                                                                     did    you                in           garage
21              Yes                                                                                                                    21                Service              mechanic
22                  Can you describe                                  that     at    all                                               22                 And         what            does      that        entail             What does
23              Well            you know                     when             you pick up                        shovel                23    service           mechanic                do
24    full   of dry dirt and                     flip       it
                                                                   over dust                will      fall                             24                Works          on trucks                    the    equipment
25    out you know                        and         thats                what     it   was                                           25                 Regular                mechanical                 kind    of     work           like    you
                                                                                                                                                                                                                                                                I.

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     would        see      in             --                                                                                            to    the dust              in    the garage                        the years                                worked
                                                                                                                                                                                                                                          you

                  Right regular                                mechanical                work                                           there

                   Work              on        the         engines                                                                                    No comparison

                  Engine                  wiring                whatever                tires        so                                                What              do you mean                            by      that

     forth                                                                                                                                            Well          in     the welding                           shop              If
                                                                                                                                                                                                                                         you brought
                  What               was the -- well                          first      of    all     where                            in                          bucket                or    something                          like        that     and an
                                                                                                                                           ashovel
     was     the shop                 located                       the    garage                                                       end loader bucket                                to     repair             and                     turn        them over
                                                                                                                                                                                                                               you
                  Just        south                  of the welding                      shop                                           with     the crane                 In       there that metal                                    that     you put on
                   How          far       was             it    from        the dry mill                                                to    stop the           wear traps                         all     the ore and                         the dirt

10                Three              400            yards                                                                         10    and     it
                                                                                                                                                     got       wore so thin                            then             you got to replace
11                Was                                               the    truck                     in    the                          them         of     course and                          the bucket                     starts            cacklng               and
                                it
                                      dusty               in
                                                                                        shop                                      1.1



12                                                                                                                                12    so forth               Then        you got to chip that                                           all    out of
     garage
13                Not      real           bad no                                                                                  13    there        and that creates                                      lot     of     dust

14                 Can you describe                                   what          kind      of     dust                         14                   You have                     to    chip             what out of there

15   conditions                           would                 see there               or    when                 would          15                 The dirt
                           you                                                                             you

16   see     dust        there                                                                                                    16                  What           condition                      was          the     dirt           thats         in



17                Well most of the time                                        if   the       sun was                             17    there

18                     and you hadihe dooropenT                                                    littlebit           and        18                 Very        dry hard                      and very dry                             Just     like      as
     shining

19   you     look        out you                     could            see     dust yoU know                                       19    hard     as            brick

20   trickling          down                   little           bit                                                               20                  And how                   would               you          get     that            out
21                In     the         beam                 of                                                                      21                 The chipping                          gun
                                                                light

22                Yeah            in the              beam            of    light                                                 22                  Can you                  tell       us        what                chipping                 gun        is

23                       there            wasnt                      beam          of                did                          23                  Its      an    airoperated                             tool        with               chisel
                  If
                                                                                        light               you

24   notice       the      dust                                                                                                   24    like   on      It      and        you Just                  chip          that        dirt        out of

25                Probably                 not            so much                  no                                             25    there so           you       can            get        to     the clean                    metal

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                  And you worked there                                         for       twO       years                                              Now            when                you        do       that        operation                    did       that


                  Yes                                                                                                                   create             lot      of    dust

                   And where                         did        you go next                                                                          Yeah sometimes
                  Three          years                                                                                                                And was                  that           the source                      of        dust     or    the

                  Three                                        Im sorry                 Okay          And then                          primary           source               of     dust          to      your perception                            when            you
                                     years
     where        did     you             go        next                                                                                were     in       the welding                      shop
                  Welding                 shop                                                                                                       Yes
                  And where                          is        the welding               shop located                                                 How           long        did           you          work          in    the welding                      shop
                  Welding                 shop                 is   north      of the truck                 shop                                     Eleven              years
10                Okay                Is       it    near           the dry         mill again                                    10                  Jack           when                did     you            firsi     learn any                   of    the

11                No      not very                       close probably                       about         the                   11    names         for      the        stuff           that         was         in    the            dust

12   same        as the          garage                                                                                           12                 Probably                  in the           late            lOs
13                1t1s     between the garage                                       and       the dry mill                        13                  And do you remember                                               what you learned

14   is   that    right                                                                                                           14    then          Do you remember                                      those              names
15                Yes                                                                                                             15                   think         It    was tremolite

16                And Jack                          did             show      you        Exhibit           124     and            16                  When           you
                                                                                                                                                                                    first       heard              the word                    tremolite          in



17   have                identify                   on         there       where the shop                       was               17    the    late       70s            did        you
                                                                                                                                                                                               know             what          it        was
                 you

18                Yes                                                                                                             18                 No
19                And we                  did        that           this    morning                                               19                  Did you              know               that         it    was               form         of


20                Yes uh-huh                                                                                                      20    asbestos

21                And on              this            computer                image             this       blue                   21                 No
22   arrow        is     that        marking                    where the welding                           shop       was        22                  Did you              know                that        tremolite could                            be

23                Yes                                                                                                             23    harmful           or   even            deadly                 at     unsafe                levels

24                Jack           how                did        the dust conditions                         in    the              24                 No
                                                                                    worked           there                        25                  What          did                        tell                     about            the
25   welding           shop          in    the years you                                                          compare                                                      they                        you


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                                                   VIDEO DEPOSITION                                       OF JACK               KENWORTIIY                     DECEMBER                           17 1999


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       interrupt                                                                                                                                    Open         pit     gold               mine

                           MR McGARVEY                                  Thats         fine                                                               And what             did           you    do        at    those              jobs
                      Yes                                                                                                                           Mechanic

                       By Mr McGarvey                                    Did     Grace ever                    notify                                    Working             on        trucks

       you      that       you     had           been            exposed             to    unsafe          levels         of                        Yes
       asbestos                                                                                                                                      Are       you still               working              at    the mine                  in



                      No         dont remember                            or    recall           them ever                             Elkd

       telling        me that                                                                                                                      No Im not
                      Would           it    have            been         important               to      you to                                      And        when              did you          quit

10     know       that       the      government                        tests     of the dust                  of   the           10               About             the middle                   of    October

11     levels         at   Grace while you worked                                         there          showed         dust      11                 Just       this         past October                         1999
12     levels              to    10        to    100         times        in    excess              of    the safe                12               Yes
                      up

13     limit                                                                                                                      13                And         why          did                  quit
                                                                                                                                                                                       you

14                         MR      MacDONALD                              Objection                                               14               Because               of        my cancer
15                                                                                                                                15                 Did                have                                                                      all
       Speculation                                                                                                                                             you                      any difficulties                         doing

16                What           was            that        again                                                                 16   the requirements                           of    your job              up       to         few            weeks        ago
17                     By Mr McGarvey                                    Would            that        have      been              17   last    October               when          you        were diagnosed                                with the

 18   -something             that          would             have        been         impartanhloyou                       to     18   cancer

19     know                                                                                                                       19               None          whatsoever

20                Yes                                                                                                             20                Jack             what do                you
                                                                                                                                                                                                       do    during              the        day         now
21                    Jack         have you                      ever    worked            at              other                  21                     sleep          lot        and rest                 Just       sit       In
                                                                                                    any

22                    operations                                                                                                 22    chair       and watch                 t.v about                  It       not very exciting
       mining

23                Yes                                                                                                            23                 Can         you      describe                  any
                                                                                                                                                                                                              of       the tasks                 that
                                                                                                                                                                                                                                                          you

24                    Tell      me about                that                                                                     24    do during the day                          that       would           illustrate                the

25                     worked              for     ACM Company                            in    the       1960s                  25    difficulties            that     you            have       getting              through               just


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                      Was        that       before               you      went        to    work          at    Grace                  normal        tasks

                  Yes                                                                                                                              Well sometimes                             its            struggle                  to get out

                      And       where was                        that                                                                  of   bed

                  Butte Montana                                                                                                                     It    is   for     all    of       us Jack

                      And what                  kind        of    mine        was that                                                             Just        walking                 Is   paInful               It    hurts

                  Underground                                             mine                                                         like   to   go      outside                and get some                         exercise                  but
                                                       copper
                      Jack        when            you
                                                                 worked         at    the        minein                                cant go outside                       if    its       cold       out            so    Im house

       Butte      did        you       have            to    wear your work clothes                                                    bound

       home                                                                                                                                         You         told     me            this   morning                   about           brushing

10                No                                                                                                             10    your teeth

                      Why not                                                                                                                      Yeah
12                Because                  we      had           change          room and                 showers                12                 Tell       me aboutthat                        again
13                    How        about           when             you worked                   at     Grace         did          13                Well you got to                           sit   on             chair           to    brush

14    they provide                change                rooms and                 showers                 so    you     didnt    14    your teeth

15    have       to    bring       your dusty                      clothes           home                                        15                 Why         is    that

16                None           whatsoever                                                                                      16                Because                   have           false teeth                     and         cant

17                    Where           else         have                    worked                                                17    stand       up long enough bend                                      over            to    brush            them
                                                                   you

18                Boy Round                       Mountain                Gold                                                   18                You         just     get too tired

19                    When         did          you     work there                                                               19                Yeah

20                88 89                                                                                                          20                Are         you     tired           now        from the questions                                    Ive

21                    And       was        that              mining           operation                                          21    asked       you
22                Yes It was open                                pit    gold     mine                                            22                Yes

23                    And       where            did                   work      after         that                              23                 How         old     are            you        Jack
                                                            you

24                Barrick             Gold         Strike                                                                        24                59

25                    And       what        kind            of    operation               was that                               25                Jack          what does                    this          diagnosis                  of    cancer



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